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IN THE UNITED STATE DISTRICT COURT

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FOR THE EASTERN DISTRICT OF VIR SON cove
CAANC ST aeebay
Alexandria Division
UNITED STATES OF AMERICA, _—)
)
ve )
) Case No. 1:02-cr-37
JOHN WALKER LINDH, )

Defendant. )
)
)

Request for investigation of actions
of John Walker Lindh before release from Prison

| come as a friend of the court to respectively petition
this court to order a thorough investigation of the actions
of John Walker Lindh that have been reported by the
National Counterterrorism Center.

According to the plea agreement these actions would
violate the terms of the plea agreement he entered
enabling him to a 20 sentence.
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lt appears the additional restrictions placed on his
release are ones, that were imposed on him is his plea
sentencing agreement and is reported to have been
ignored.

Nothing will be gained by not enforcing the Laws of the
United States and holding those that break it
accountable for their actions.

Respectfully,
ohnny Spann
320 Bankhead Hwy,
Winfield, Al. 35594
205-495-5666

 
 
